Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 1 of 8 Page ID #:95
   1
   2
   3
   4
   5
   6
   7
   8                  UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9
   10 BRIAN G. HOLTKAMP                   Case No.
                                          8:24−cv−01285−JWH−ADS
   11              Plaintiff(s),
                                          ORDER SETTING SCHEDULING
            v.                            CONFERENCE
   12
        MOZILLA FOUNDATION/MOZILLA.ORG
   13                                     Date: August 23, 2024
                                          Time: 09:00 AM
   14                                     Location: Courtroom 9D of the
                                              Ronald Reagon Federal Building
                  Defendant(s).               and U.S. Courthouse,
   15
                                              411 W. 4th Street,
   16                                         Santa Ana, California

   17
   18
   19       PLEASE READ THIS ORDER CAREFULLY. IT DIFFERS IN SOME
   20                  RESPECTS FROM THE LOCAL RULES.
   21
   22
   23
   24
   25
   26
   27
   28

                                         1
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 2 of 8 Page ID #:96
   1          This case has been assigned to U.S. District Judge John W. Holcomb.

   2    This matter is set for a Scheduling Conference on the date set forth above.

   3    Unless otherwise indicated, the Scheduling Conference will be conducted in

   4    person, in Courtroom 9D of the Ronald Reagan Federal Building and U.S.

   5    Courthouse, 411 W. 4th Street, Santa Ana, California.

   6          If plaintiff has not already served the operative Complaint on all defendants,

   7    then Plaintiff is DIRECTED to do so forthwith, and Plaintiff shall file proofs of

   8    service within three days thereafter. Defendants shall also timely serve and file

   9    their respective responsive pleadings, and they shall file proofs of service within

   10   three days thereafter.

   11         The Court will conduct the Scheduling Conference pursuant to Rule 16(b)

   12   of the Federal Rules of Civil Procedure. The parties are reminded of their

   13   obligations under Rule 26(f) to confer regarding a discovery plan no later than

   14   21 days before the Scheduling Conference and to file a “Joint Rule 26(f)

   15   Report” with the Court no later than 14 days before the Conference. The parties

   16   are not required to provide a Mandatory Chambers Copy of their Joint Rule

   17   26(f) Report.

   18         The Court encourages counsel to begin to conduct discovery actively

   19   before the Scheduling Conference. At the very least, the parties shall comply

   20   fully with the letter and spirit of Rule 26(a) and thereby obtain and produce

   21   most of what would be produced in the early stage of discovery, because at the

   22   Scheduling Conference the Court will impose strict deadlines to complete

   23   discovery.

   24         This Court does not exempt parties appearing in propria persona from

   25   compliance with any of the Local Rules, including L.R. 16. “Counsel,” as used

   26   in this order, includes parties appearing in propria persona.

   27   \\\

   28   \\\


                                                 2
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 3 of 8 Page ID #:97
   1                            I. JOINT RULE 26(f) REPORT

   2            The Joint Rule 26(f) Report, which shall be filed no later than 14 days

   3    before the Scheduling Conference, shall be drafted by Plaintiff (unless the

   4    parties agree otherwise), but shall be submitted and signed jointly. “Jointly”

   5    contemplates a single report, regardless of how many separately represented

   6    parties are in the case. The Joint Rule 26(f) Report shall specify the date of the

   7    Scheduling Conference on the caption page. It shall report on all matters

   8    described below, which include those required to be discussed by Rule 26(f) and

   9    L.R. 26:

   10           1.   Statement of the case: A short synopsis (not to exceed two pages)

   11   of the main claims in the Complaint and in the Counterclaim (if any) and the

   12   primary affirmative defenses.

   13           2.   Subject Matter Jurisdiction: A Statement of the specific basis of

   14   federal jurisdiction, including supplemental jurisdiction.

   15           3.   Legal Issues: A brief description of the key legal issues, including

   16   any unusual substantive, procedural, or evidentiary issues.

   17           4.   Parties, Evidence, etc.: A list of parties, witnesses, and key

   18   documents on the main issues in the case. For conflict purposes, corporate

   19   parties must identify all subsidiaries, parents, and affiliates.

   20           5.   Damages: The realistic range of provable damages.

   21           6.   Insurance: Whether there is insurance coverage, the extent of

   22   coverage, and whether there is a reservation of rights.

   23           7.   Motions: A statement of the likelihood of motions seeking to add

   24   other parties or claims, to file amended pleadings, to transfer venue, etc.

   25           8.   Manual for Complex Litigation: Whether all or part of the

   26   procedures of the Manual for Complex Litigation should be utilized for this

   27   case.

   28   \\\


                                                   3
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 4 of 8 Page ID #:98
   1         9. Status of Discovery: A discussion of the present state of discovery,

   2    including a summary of completed discovery.

   3         10.      Discovery Plan: A detailed discovery plan, as contemplated by

   4    Rule 26(f). State what, if any, changes in the disclosures under Rule 26(a)

   5    should be made, the subjects on which discovery may be needed, whether

   6    discovery should be conducted in phases or otherwise be limited, whether

   7    applicable limitations should be changed or other limitations imposed, and

   8    whether the Court should enter other orders. A statement that “discovery will

   9    be conducted as to all claim and defenses,” or other vague description, is not

   10   acceptable.

   11        11.      Discovery Cut-off: A proposed discovery cut-off date. This means

   12   the final day for the completion of discovery, including the resolution of all

   13   discovery motions.

   14        12.      Expert Discovery: Proposed dates for expert witness disclosures

   15   (initial and rebuttal) and expert discovery cut-off under Rule 26(a)(2).

   16        13.      Dispositive Motions: A description of the issues or claims that any

   17   party believes may be determined by motion for summary judgment or motion

   18   in limine.

   19        14.      Settlement/Alternative Dispute Resolution (ADR): A statement of

   20   what settlement discussions or written communications have occurred

   21   (excluding any statement of the terms discussed). If counsel have received a

   22   Notice to Parties of Court-Directed ADR Program (Form ADR-08), the case

   23   presumptively will be referred to the Court Mediation Panel or to private

   24   mediation (at the parties’ expense). If the parties jointly desire a settlement

   25   conference with the assigned Magistrate Judge, they should so indicate in their

   26   report. The case may not proceed to trial unless all parties, including an officer

   27   (with full authority to settle the case) of all corporate parties, have appeared

   28   personally at an ADR proceeding.


                                                  4
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 5 of 8 Page ID #:99
   1            15. Trial Estimate: A realistic estimate of the time required for trial

   2    and whether trial will be a bench trial or jury trial. Each side should

   3    specify (by number, not by name) how many witnesses it contemplates calling.

   4            16. Trial Counsel: The name(s) of the attorney(s) who will try the

   5    case.

   6            17. Independent Expert or Master: Whether this is a case where the

   7    Court should consider appointing a master pursuant to Rule 53 or an

   8    independent scientific expert.

   9            18. Timetable: Complete the Schedule of Pretrial and Trial Dates

   10   form attached as Exhibit A to this Order and attach it to the Joint Rule 26(f)

   11   Report. Each side should write in the month, day, and year it requests for each

   12   event. At the Scheduling Conference, the Court will review this form with

   13   counsel. The proposed date for each event shall fall on a Friday, except the trial

   14   date, which is a Monday. Counsel should ensure that requested dates do not fall

   15   on a holiday. In appropriate cases, the Court may order different dates from

   16   those proposed by the parties. The discovery cut-off date is the last day by

   17   which all depositions must be completed, responses to previously served written

   18   discovery must be provided, and motions concerning discovery disputes must be

   19   heard. The cut-off date for motions is the last date on which motions may be

   20   heard, not filed. The Court directs counsel’s attention to L.R. 6-1 regarding the

   21   timing of motions, oppositions thereto, and hearings thereon.

   22           19. Amending Pleadings and Adding Parties: Please note that the

   23   Court does not typically set a separate deadline for the parties to amend their

   24   pleadings or to add parties. A party who wishes to amend its pleading or to add

   25   one or more parties shall seek a stipulation from the other parties. If the parties

   26   cannot reach such a stipulation, then the party seeking to amend shall comply

   27   with Rule 15(a) and, if applicable, Rule 16(b)(4) of the Federal Rules of Civil

   28   Procedure, as well as L.R. 15-1 through L.R. 15-3 and L.R. 16-14.


                                                  5
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 6 of 8 Page ID #:100
   1         20. Other issues: A statement of any other issues affecting the status or

   2    management of the case (e.g., unusually complicated technical or technological

   3    issues, disputes over protective orders, extraordinarily voluminous document

   4    production, non-English speaking witnesses, ADA-related issues, discovery in

   5    foreign jurisdiction, etc.) and any proposals concerning severance, bifurcation,

   6    or other ordering of proof. The Court does not like surprises. Accordingly,

   7    counsel and the parties are directed to raise in the Joint Rule 26(f) Report any

   8    and all issues that may tend to make this case unusual, challenging, or difficult.

   9         21. Consent to Proceed Before Magistrate Judge: A statement that

   10   counsel for all parties have discussed whether the parties consent to have a

   11   Magistrate Judge of this Court conduct any and all necessary proceedings and

   12   order the entry of judgment in this matter pursuant 28 U.S.C. § 636(c) and

   13   General Order 12-01. The statement should indicate whether the parties consent

   14   to the assignment of this matter to a Magistrate Judge.

   15        The Joint Rule 26(f) Report should set forth the above-described

   16   information under section headings corresponding to those in this Order.

   17                       II. SCHEDULING CONFERENCE

   18        Lead trial counsel for each party must be present. Counsel must be

   19   prepared to discuss the substantive issues in the case and authorized to address

   20   the prospective case schedule with the Court and opposing counsel. If lead

   21   trial counsel for a party cannot be present because of an unreconcilable

   22   scheduling conflict, then that party shall seek a stipulation with the other parties

   23   to continue the Scheduling Conference (by no more than three weeks) to a date

   24   on which all lead counsel can attend. If the parties cannot reach such a

   25   stipulation, then lead trial counsel who cannot attend the Scheduling Conference

   26   shall file an ex parte application seeking to be excused.

   27        Other than as set forth in the preceding paragraphs, a continuance of the

   28   Scheduling Conference will be granted only for good cause.


                                                 6
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 7 of 8 Page ID #:101
   1                 III. NOTICE TO BE PROVIDED BY COUNSEL

   2         Plaintiff’s counsel or, if Plaintiff is appearing pro se, Defendant’s

   3    counsel, shall provide this Order to any parties who first appear after the date of

   4    this Order and to parties who are known to exist but have not yet entered

   5    appearances.

   6                            IV. COURT’S WEBSITE

   7         Copies of this and all other orders of this Court that may become

   8    applicable to this case are available on the Central District of California website,

   9    at www.cacd.uscourts.gov, under “Judge’s Procedures and Schedules.” Copies

   10   of the Local Rules are also available on the website.

   11        IT IS SO ORDERED.

   12
   13   Dated: July 23, 2024
   14
                                                  John W. Holcomb
   15                                             UNITED STATES DISTRICT JUDGE

   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28


                                                 7
Case 8:24-cv-01285-JWH-ADS Document 17 Filed 07/23/24 Page 8 of 8 Page ID #:102
   1         EXHIBIT A: SCHEDULE OF PRETRIAL AND TRIAL DATES
                               WORKSHEET
   2
   3                  Case No.:
   4               Case Name:
                 Event                 Plaintiff’s   Defendant’s     Court’s Order
   5                                    Request       Request
                                     month/day/year month/day/year
   6
            Jury Trial or
   7     Bench Trial (Monday
         at 9:00 a.m.)
   8     Length: ___ days
   9     Final Pretrial
         Conference [L.R. 16]
   10    (Friday−17 days
         before trial date)
   11    Hearing on Motions in
   12    Limine (Friday−7
         days before Final
   13    PTC)
         Last Date to Hear
   14    Non-Discovery Motions
   15    Last Date to Conduct
         Settlement Conference
   16
         All Discovery Cut-Off
   17    (including hearing all
         discovery motions)
   18    Expert Disclosure
         (Rebuttal)
   19
         Expert Disclosure
   20    (Initial)
   21
   22   ADR [L.R. 16-15] Settlement Choice:
   23            Attorney Settlement Officer Panel
   24            Private Mediation
   25            Magistrate Judge
   26
   27
   28


                                               8
